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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
Maryland Chapter of the Sierra Club et al.
                                                        *
      Plaintiff,
                                                        *
      v.                                                         Case No. 22-cv-2597
                                                        *
Federal Highway Administration et al.

      Defendant.                                        *

                                    MOTION FOR ADMISSION PRO HAC VICE

            I, Peter J. DeMarco                    , am a member in good standing of the bar of this

Court. I am moving the admission of Elizabeth S. Merritt

to appear pro hac vice in this case as counsel for National Trust for Historic Preservation .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission           U.S. Court & Date of Admission
               See attachment                               See attachment




            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                            0       time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.

            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                       PROPOSED ADMITTEE
                                                             signed by Peter J. DeMarco with permission from
 /s/                                                         Elizabeth Merritt
Signature                                                    Signature
Peter J. DeMarco (D. Md. Bar No. 19639)                      Elizabeth S. Merritt (DC Bar No. 337261)
Printed name and bar number                                  Printed name
Natural Resources Defense Council, Inc.                      National Trust for Historic Preservation
Office name                                                  Office name

1152 15th Street, NW, Suite 300, Washington, DC 20005        2600 Virginia Ave NW, Suite 1100, Washington DC 20037

Address                                                      Address
(202) 513-6267                                               (202) 297-4133
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pdemarco@nrdc.org                                            emerritt@savingplaces.org
Email Address                                                Email Address




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Elizabeth Merritt is a member of the following bars:

       D.C. Court of Appeals (December 19, 1980)

       U.S. District Court for the District of D.C. (April 6, 1981)

       U.S. Supreme Court (October 7, 1985)

       U.S. Court of Appeals, Federal Circuit (February 28, 1996)

       U.S. Court of Appeals, D.C. Circuit (August 10, 1981)

       U.S. Court of Appeals, First Circuit (Mar. 30, 2001)

       U.S. Court of Appeals, Second Circuit (September 23, 1998)

       U.S. Court of Appeals, Third Circuit (March 1, 1990)

       U.S. Court of Appeals, Fourth Circuit (June 19, 1989)

       U.S. Court of Appeals, Fifth Circuit (March 29, 1989)

              (renewed every 5 years, most recently Feb. 2019)

       U.S. Court of Appeals, Sixth Circuit (February 22, 1989)

       U.S. Court of Appeals, Seventh Circuit (December 1990)

       U.S. Court of Appeals, Eighth Circuit (March 7, 1989)

       U.S. Court of Appeals, Ninth Circuit (July 13, 1989)

       U.S. Court of Appeals, Tenth Circuit (December 22, 1994)

       U.S. Court of Appeals, Eleventh Circuit (December 31, 1984)
